900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Restoney ROBINSON, Plaintiff-Appellant,v.James G. MARTIN, Governor;  Judi Campbell;  R.M. Jarvis;Jacob L. Safron;  Robert Davis;  Lacy Tyson;  J.C.Pinion;  craig Hillard, Defendants-Appellees.
    No. 90-7262.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 13, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  Richard C. Erwin, Chief District Judge.  (C/A No. 88-1013-S).
      Restoney Robinson, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and DONALD PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Restoney Robinson noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    